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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF COLUMBIA

     IN RE:                                                        :
                                                                   :
               W.A.R., LLP                                         : Case No. 11-0044
                                                                   : (Chapter 7)
                                    Debtor                         :


                        WILLIAM C. CARTINHOUR, JR.’S MOTION TO STRIKE
                        RAY CONNOLLY’S PLEADINGS AND FOR SANCTIONS

               William C. Cartinhour, Jr., by counsel, moves the Court to strike Ray Connolly’s

     pleadings filed in this Chapter 7 proceeding and for sanctions pursuant to the Court’s inherent

     power, and in support thereof offers the attached Memorandum of Points and Authorities,

     which is incorporated herein by reference.

               WHEREFORE, William C. Cartinhour, Jr. requests the Court:

               A.        Strike all of Ray Connolly’s Pleadings;

               B.        Sanction Ray Connolly, aka Raymond J. Connolly, Jr. pursuant to the Court’s

                         inherent power; and

               C.        Grant such other and further relief as is just and proper.

                                                         Respectfully submitted,


                                                                 /s/ Patrick J. Kearney
                                                         Patrick J. Kearney, Esquire, Bar No. 382290
                                                         Selzer Gurvitch Rabin Wertheimer Polott &
                                                           Obecny, P.C.
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                                                         Attorneys for William C. Cartinhour, Jr.




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                                    CERTIFICATE OF SERVICE


             I hereby certify that a true and accurate copy of the foregoing pleading has been
     served this 8th day of July 2011 upon:

     Via First Class Mail, postage pre-paid:

     William Wooten, Esquire
     262 German Oak Drive
     Cordova, TN 38018

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     Raymond J. Connolly, Jr.
     280 First Ave. No. 8B
     New York, NY 10009

     Joseph A. Guzinski, Assistant United States Trustee
     115 South Union Street, Plaza Level
     Suite 210
     Alexandria, VA 22314

     By ECF:

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     P.O. Box 4806
     Bryan, TX 77805

     Jeffrey M. Sherman, Esquire
     Jackson & Campbell
     1120 20th St., NW, Suite 300 South
     Washington, DC 20036

     Wade A. Robertson
     191 E. Parkway S.
     Memphis, TN 38104



                                                   /s/ Patrick J. Kearney
                                           Patrick J. Kearney



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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLUMBIA

IN RE:                                       :
                                             :
       W.A.R., LLP                           : Case No. 11-0044
                                             : (Chapter 7)
                       Debtor                :

                                            ORDER

       Upon consideration of the Motion of William C. Cartinhour, Jr. to Strike the Pleadings

filed by Ray Connolly and to Sanction Ray Connolly, aka Raymond J. Connolly, Jr., and the

Opposition thereto, it is hereby

       ORDERED, that the Motion be and the same hereby is GRANTED; and it is further

       ORDERED, that all pleadings and papers filed by Ray Connolly, a/k/a Raymond J.

Connolly, Jr. be and the same are hereby STRICKEN; and its is further

       ORDERED, that Ray Connolly a/k/a Raymond J. Connolly, Jr. shall pay William C.

Cartinhour, Jr., c/o Patrick J. Kearney, Esquire, the sum of $_____________ within _______

days of the date of this Order as a sanction for his bad faith conduct in pursuing claims where he

has no standing.
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                                     END OF ORDER




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